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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                       NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                SECTION "N-4"
                                            JUDGE ENGELtIARDT
                                            MAG. JUDGE ROBY




        DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
    IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
   CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                           U.S. EXHIBIT NO. 10
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                           IYNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In re: FEMA TRAILER                         *      CIVIL ACTION 2:07-MD-1873
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION
                                                   JUDGE ENGLEHARDT-DIV. N

                                                   MAGISTRATE ROBY - MAG. 4


                        DECLARATION OF BRYAN McCREARY

       I, Bryan McCreary, state and declare as follows:

       1.     I am Chief of the NETC and Regional Support Section, Acquisition Operations

Branch, Office of Acquisition Management, Federal Emergency Management Agency (FEMA),

a component agency of the Department of Homeland Security (DHS). In this position, I manage

and have oversight over Contract Officers responsible for issuing contracts for FEMA and have

authority to issue contracts for FEMA. As a part of my duties and responsibilities I was

responsible for issuing contracts to purchase Emergency Housing Units (EHUs) for Hurricanes

Katrina and Rita disaster victims and supervising Contract Officers who issued such contracts.

       2.     Soon after Hurricane Katrina the Acquisition Operations Branch was instructed

that it needed to identify and purchase EHUs as quickly as possible and on an unprecedented

scale for purposes of providing emergency temporary housing assistance to Hurricane Katrina

disaster victims. In response to this instruction I and other FEMA contract officers, and contract

officers from other DHS procurement offices temporarily detailed to FEMA for purposes of
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assisting emergency response efforts, issued contracts EHUs were purchased both "off the lot"

from existing inventories and directly from contractors and!or manufacturers.

       3.     FEMA purchased three types of EHUs for purposes of responding to the

hurricanes, travel trailers, park model trailers, and mobile homes. I am familiar with the

document assigned identification numbers FEMA07-001101 to FEMA07-001119 that is Exhibit

A to this declaration. This document, Exhibit A, is a nineteen (19) page spreadsheet that

summarizescontracts that were issued to purchase EHUs to provide temporary emergency

housing for K~,trina and Rita disaster victims. Pages 1-14 (FEMA07-001101 to FEMA07-

001114) reflect and summarize contract information relating to the purchase of travel trailers off

the lot. Page 15 (FEMA07-001115) summarize contract information relating to the manufacture

of travel trailers. Page 16 (FEMA07-001116) reflect contract information relating to the

purchase of mobile homes. Page 17 (FEMA07-001117) reflects contract information relating to

the purchase of park model travel trailers. Pages 18-19 (FEMA07-001118 to FEMA07-001119)

reflect total number and types of EHUs purchased and amount paid for those units.

       4.      FEMA paid more than $2.5 billion dollars to purchase over 140,000 EHUs. The

total number of each type of EHU and source of the units, "off the lot" or from a

contractor/manufacturer, as well as total amount paid for each type of units, is identified on

attached Exhibit A at pages 18-19 (FEMA07-001118 to FEMA07-001119).

       5.      I am familiar with the documents assigned identification number FEMA10-

000213 to FEMA10-000250 that is Exhibit B to this declaration. These documents constitute

true and accurate copies of a contract and associated documents issued to purchase manufactured

homes "off the lot", i.e., mobile homes, for the hurricane disaster victims. These documents

reflect the core contract terms and conditions that were used and applied to all "off-the-lot"
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purchases of mobile homes purchased to provide emergency housing for Hurricane Katrina and

Rita disaster victims. FEMA issued this type of contract to vendors and set forth in the contract

a specifications section that summarized features sought by FEMA. However, because of the

compelling, urgent and immediate need for housing, the specifications were "illustrative," not

mandatory, and contract officers were authorized to exercise their discretion and purchase units

even if they did not meet the listed specifications.

       6.      I am familiar with the documents assigned identification number FEMA10-

000310 to FEMA10-000324 that is Exhibit C to this declaration. These documents constitute a

tree and accurate copy of a contract and associated documents to purchase travel trailers "off the

lot" from vendors for hurricane disaster victims. These documents reflect the core contract terms

mad conditions that were used and applied to all "off-the-lot" purchases of travel trailers

purchased to provide emergency housing for hurricane Katrina and Rita disaster victims. For

these "off the lot" purchases, FEMA obtained a listing of Recreational Vehicle Dealers and

Contract Officers then contacted the dealers to identify and attempt to purchase any new units in

their inventory that were under warranty, had basic amenities -- furnished, air conditioned,

heated, and microwave --, and were between 27’ and 35’ feet in length. Awards were made

based upon lowest price, and the price included the cost of delivery in Louisiana.

       7.       I am familiar with the documents assigned identification number FEMA10-

000280 to FEMA10-000309 that is Exhibit D to this declaration. These documents constitute a

true and accurate copy of a contract and associated documents issued to a manufacturer and/or

contractor for purpose of purchasing travel trailers forHurricane Katrina and Rita disaster

victims. These documents reflect the core contract terms and conditions that were used and
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applied to travel trailer manufacturers to purchase travel trailers to provide emergency housing

for hurricane Katrina and Rita disaster victims.

       8.      I am familiar with the documents assigned identification number FEMA10-

000272 to FEMA10-000279 that is Exhibit E to this declaration. These documents constitute a

true and accurate copy of a contract and associated documents issued for the purpose of

purchasing park model trailers for Hurricane Katrina and Rita disaster victims. These documents

accurately reflect the core contract terms and conditions that were used and applied to purchase

park model trailers to provide emergency housing for hurricane Katrina and Rita disaster victims.

       9.      I am familiar with the documents assigned identification number FEMA10-

000251 to FEMA10-000271 that is Exhibit F to this declaration. These documents constitute a

true and accurate copy of a contract and associated, documents issued for the purpose of

purchasing mobile homes from contractors and/or manufacturers for Hurricane Katrina and Rita

disaster victims. These documents accurately reflect the core contract terms and conditions that

were used and applied to these purchases.

        10. Neither the contracts nor any of the associated documents issued to purchase

EHUs contained any specifications or requirements relating to formaldehyde. FEMA had no

rules, regulations, or specifications governing formaldehyde in EHUs, and as such, relied

exclusively upon the vendors’ and manufacturers’ expertise and experience with the sale and

construction of travel trailers, park model trailers and mobile homes, to construct and provide

FEMA with new units, under warranty, that met and complied with any and all applicable

regulatory requirements, and that would provide disaster victims with a safe, habitable place to

live pending their transfer to more permanent housing.
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       11. For purposes of ensuring that vendors and manufacturers fulfilled their

contractual obligations, FEMA inspected the EHUs upon delivery. FEMA conducted a walk

through inspection to ensure that the units it received were new, furnished, contained all

contracted for amenities and had not been physically damaged during the manufacturing process

or transportation to a staging facility. To conserve and allow for more efficient use of

Government resources, FEMA relied upon the vendors and manufacturers, including their

expertise and experience with the construction of such units, to ensure that the units received by

FEMA and subsequently provided to disaster victims were safe and habitable.

       12. As a result of these decisions, FEMA as part of its inspection and purchase of the

units did not test ambient indoor air for formaldehyde. No regulations required FEMA to

conduct any such testing, and if any such testing had been required, the vendor and!or

manufacturer should have conducted and completed that testing and sampling before transferring

the new warranted unit to FEMA.

     Pursuant to 28 USC {} 1746, I declare under penalty of perjury that the foregoing is true
and c°rrect" Executed °n this/--~-- day °f/~/~4"~’~~BRYAN




                                             Chief, NETC and Regional~%pport Section
                                             Acquisition Operations Branch
                                             Office of Acquisition Management
                                             Federal Emergency Management Agency
                                             Department of Homeland Security
